Case: 1:04- <H: 07559 agcument #: 1 Filed: 11/22/04 Page pay 14 PagelD #:1
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TE UNITED STATES DISTRICT COURT

oe THE NORTHERN DISTRICT OF ILLINOIS NOV 2 3 2004
EASTERN DIVISION
eo?
OSCAR O. HERNANDEZ, )
)
Plaintiff, ) ) 4 C 15 5 9
)
vs. ) Civil Action No.
) TRIAL BY JURY DEMANDED
VALET PARKING SERVICES, INC., _)
And LOYOLA UNIVERSITY )
MEDICAL CENTER, JUDGE DER-YEGHIAYAN
)

Defendants.
; MAGISTRATE JUDGE

COMPLAINT GERALDINE SOAT BROWN
Now comes Plaintiff, OSCAR O. HERNANDEZ, by and through his attorney, Kenneth
A. Henry, and, for his complaint against Defendants, VALET PARKING SERVICES, INC. and
LOYOLA UNIVERSITY MEDICA.L CENTER, alleges as follows:

INTRODUCTION
1. This action is brought against VALET PARKING SERVICES, INC. and LOYOLA
UNIVERSITY MEDICAL CENTER (hereinafter referred to as “VPS” and “Loyola”,
respectively), pursuant to Title I of the Americans with Disabilities Act of 1990, 42 U.S.C.
Section 12101, et seq. (the “ADA”).

PARTIES
2. a. Plaintiff, Oscar O. Hernandez (“Hernandez”), is, and at all times relevant hereto
was, a citizen of the United States and a resident of Chicago, Illinois. At all times relevant
hereto, Hernandez was a duly licensed driver by the State of Illinois, and possessed a driving
record with no convictions.

b. Hernandez, at the times relevant hereto, has had only one functional arm, which
constitutes a “disability” within the meaning of ADA Section 3(2), 42 U.S.C. Section 12102(2).
Furthermore, at all times relevant hereto, Hernandez has been a “qualified individual with a
disability” within the meaning of ADA Section 101(8), 42 U.S.C. Section 12111(8), in that
Case: 1:04-v-07559 pocument #: 1 Filed: 11/22/04 Page al 14 PagelD #:2

Hemandez has been an individual with a disability who, with or without reasonable
accommodation, can perform the essential functions of the job of Hiker.

c. Hernandez has been an “employee” of VPS, as said term is defined in ADA
Section 101(4), 42 U.S.C. Section 12111(4), since on or about December 3, 2001 through the
present time at various facilities in the metropolitan Chicago area.

3. a. Defendant, VPS, at all times relevant hereto, has been an Illinois corporation

authorized to do business in the state of Illinois, and maintains its registered office at 55 West
Wacker Drive, 9" Floor, Chicago, Illinois 60601. VPS, at all times relevant hereto, was engaged
in “an industry affecting commerce” and had, on information and belief, in excess of fifteen
employees.

db. VPS, at all relevant times hereto, was a “person”, an “employer” and a “covered
entity” as said terms are defined in ADA Sections 101(7), (2) and (5)(A), 42 U.S.C. Section
12111(7), (2) and (5) (A).

4, a. Defendant, Loyola, at all times relevant hereto, has been an Illinois not-for-profit
corporation authorized to do business in the state of Illinois, and maintains its registered office at
2160 S. First Avenue, Maywood, Illinois. Loyola, at all times relevant hereto, was engaged in
“an industry affecting commerce” and had, on information and belief, in excess of fifteen
employees. |

b. Loyola, at all relevant times hereto, was a “person”, an “employer” and a
“covered entity” as said terms are defined in ADA Sections 101(7), (2) and (5)(A), 42 U.S.C.
Section 12111(7), (2) and (5) (A).

c. Loyola, from on or about May 2, 2002 until on or about May 9, 2003, was a joint
employer, with VPS, of Hernandez.

JURISDICTION AND VENUE
5. Hernandez’s cause of action arises under 42 U.S.C. Section 12101, et seg., the Americans
with Disabilities Act of 1990. The jurisdiction of this Court is invoked pursuant to 28 U.S.C.
Sections 1331 and 1343, and 42 U.S.C. Sections 12117(a) and 2000e-(5), to redress Plaintiff for
any and all damages suffered as a result of discrimination and retaliation on the basis of

disability.
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6. Venue is proper in this district and division pursuant to 28 U.S.C. Section 1391 (c) and
42 U.S.C. Sections 12117(a) and 2000e-5, in that this is the judicial district wherein a substantial
part of the events or omissions giving rise to this claim occurred.

7. All conditions precedent to jurisdiction under 42 U.S.C. Sections 12117(a) and 2000e-5
have been satisfied, to wit:

a. On or about September 22, 2003 and November 3, 2003, Hemandez filed charges
of discrimination with the Equal Employment Opportunity Commission within 180 days of the
commission of the discriminatory employment practices. Said charges alleged that Hernandez
had been discriminated against by VPS and Loyola because of his disability, and that VPS had
retaliated against him for exercising his rights under the law. These charges were also filed with
the Illinois Department of Human Rights. A copy of the charges are attached hereto and made a
part hereof as Exhibits A, B and C.

b. “ Dismissal and Notice of Rights” and a “Notice of Right to Sue” were received
by Hernandez from the EEOC less than ninety (90) days prior to the filing of this Complaint. A
copy of each “ Dismissal and Notice of Rights” and of the “Notice of Right to Sue” are
attached hereto and made a part hereof as, respectively, Exhibit D, Exhibit E, and Exhibit F.

COUNTI
DISABILITY CLAIM

8. On or about December 3, 2001, Hernandez began his employment with VPS as a Hiker.
In that position, Hernandez parked and/or retrieved parked cars at the various locations where
VPS was contracted to provide valet parking services.
9. On or about May 2, 2002, Hernandez was transferred by VPS to be a Hiker at Loyola.
From that time until on or about May 9, 2003, Hernandez performed his duties and
responsibilities in a manner that was satisfactory to VPS. |
10. On or about May 9, 2003, VPS transferred Hernandez to another VPS worksite. On
information and belief, VPS transferred Hernandez at the direction of Loyola, whose
representative told VPS that Loyola did not want a one-armed Hiker parking cars at its facility.
As aresult, VPS transferred Hernandez to another facility.
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11. At that time, Hernandez was not violating any of VPS’s reasonable rules. Furthermore,
Hernandez was able to perform all of the essential functions of his job.

12. The discriminatory conduct complained of above was intentional and was done with
malice and/or with reckless indifference to the federally protected rights of Hernandez.

13. The discriminatory conduct has caused, continues to cause, and will cause Plaintiff to
suffer substantial damages for future pecuniary losses, mental anguish, loss of enjoyment of life

and other non- pecuniary losses.

_ PRAYER FOR RELIEF

WHEREFORE, Oscar O. Hernandez prays for the entry of a judgment in his favor and
against VPS and Loyola as follows:

A. That a permanent injunction be entered enjoining Defendants, VPS and Loyola,

their owners, officers, management personnel, employees, agents, successors and assigns,

and all persons in active concert or participation with them, from engaging in any

employment practice which discriminates on the basis of disability;

B. Ordering Defendants, VPS and Loyola, to institute and carry out policies,

practices and programs which provide equal employment opportunities to qualified

individuals with disabilities, and which eradicate the effects of past and present unlawful

employment practices;

C. Ordering Defendants, VPS and Loyola, to make Oscar O. Hernandez whole by

providing his with appropriate lost earnings and insurance premiums, with prejudgment

interest, in an amount to be proved at trial, and other affirmative relief necessary to

eradicate the effects of its unlawful employment practices including, but not limited to,

reinstatement of Oscar O. Hernandez to the position of Hiker; |

D, Ordering Defendants, VPS and Loyola, to make Oscar O. Hernandez whole by

providing compensation for non-pecuniary losses including emotional pain, suffering,

inconvenience and mental anguish in amounts to be proven at trial;

E. Ordering Defendants, VPS and Loyola, to pay to Oscar O, Hemandez punitive

damages in the amount of Three-Hundred Thousand Dollars ($300,000);

 

 
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F. Ordering Defendants, VPS and Loyola, to reimburse Oscar O. Hernandez for all
attomeys’ fees, costs and such other amounts as may be deemed appropriate; and

G. For such other and further relief as this Court deems just and proper.

COUNT II

RETALIATION
14. Hernandez reasserts and realleges herein as Paragraph 14 of Count II each and every
allegation contained in Paragraphs 1 through 13 of Count II of this Complaint as though fully set
forth herein.
15. Onor about September 22, 2003, Hernandez filed the aforementioned charges with the
EEOC.
16. Since shortly after September 22, 2003 and continuing to the present time, VPS has been
retaliating against Hernandez for exercising his right sunder the ADA by, among other things,
enforcing rules against Hernandez differently than the miles are enforce against other employees;
transferring Hernandez to other facilities; and assigning Hernandez to perform work that does not
include parking and/or retrieving cars, which deprives him of the additional tip income that
Hikers generally receive.
17. The reasons given by VPS for these actions were and continue to be a pretext for the
actual reason, retaliation for exercising his rights under the ADA, in violation of ADA Section
503, 42 U.S.C. Section 12203,

PRAYER FOR RELIEF

WHEREFORE, Oscar O. Hernandez prays for the entry of a judgment in his favor and
against VPS as follows:

A. That a permanent injunction be entered enjoining Defendant, VPS, its owners,

officers, management personnel, employees, agents, successors and assigns, and all

persons in active concert or participation with them, from engaging in any employment

practice which discriminates on the basis of disability;

B. Ordering Defendant, VPS, to institute and carry out policies, practices and

programs which provide equal employment opportunities to qualified individuals with

 
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disabilities, and which eradicate the effects of past and present unlawful employment
practices;

Cc. Ordering Defendant, VPS, to make Oscar O. Hernandez whole by providing his
with appropriate lost earnings and insurance premiums, with prejudgment interest, in an
amount to be proved at trial, and other affirmative relief necessary to eradicate the effects
of its unlawful employment practices including, but not limited to, restatement of Oscar
OQ. Hernandez to the position of Hiker;

D. Ordering Defendant, VPS, to make Oscar O. Hernandez whole by providing
compensation for non pecuniary losses including emotional pain, suffering,
inconvenience and mental anguish in amounts to be proven at trial;

E, Ordering Defendant, VPS, to pay to Oscar O. Hernandez punitive damages in the
amount of Three-Hundred Thousand Dollars ($300,000);

F, Ordering Defendant, VPS, to reimburse Oscar O. Hernandez for all attorneys’
fees, costs and such other amounts as may be deemed appropriate; and

G. For such other and further relief as this Court deems just and proper.

JURY TRIAL DEMANDED
Plaintiff, Oscar O. Hernandez, requests a trial by jury.

 

Respectfully Submitted,
OSCAR O. ANDEZ, PLAINTIFF

By. © fo

{Kenneth A. Henry, his attops€y

Kenneth A. Henry, Esq.

120 West Madison Street, Suite 600
Chicago, Illinois 60602

(312) 857-0100

(312) 857-1157 (fax)
khenry@kahlaw.com

ARDC No. 01193457 .

 
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EEOC Form 6 (8/01)

 

CHARGE OF DISCRIMINATION Charge Presented To: Agencyfies) Charge No(s}:
This form ta affected by the Privacy Act of 1974. See enclosed Privacy Act . C] FEPA

Statement and other Information before completing this form.
DX] ee0c 210-2003-35493

 

 

lilinots Department Of Human Rights and EEOC
State or focal Agency, Fany

 

Name (lndicete Mr., Ms., Mrs.) Home Phona No. {incl Aree Code) Date of Birth
Mr. Oscar O. Hernandez oo (773) 220-9665

 

 

 

Street Address Clty, State and ZIP Code
5143 W. Barry, Chicago, IL 60641

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believa
Discriminated Against Me or Others. (/f more than iwo, list winder PARTICULARS heiow.}

 

 

 

 

 

 

 

Neme No. Employees, Members | Phone No. (include Area Code)
VALE l c 15 - 400 (312) 332-1134 __|
Street Address City, State and ZIP Code
70 W. Madison, #760, Chicago, IL 60602
Name No. Employees, Members | Phone No. (include Area Code)
Streat Address Clty, Slate and ZIP Code
DISCRIMINATION BASED ON (Chack appropriate box{es).) DATE(S} DISCRIMINATION TOOK PLACE
O ; Earllest Latest
RACE COLOR SEX RELIGION NATIONAL ORIGIN
U CJ C] C1 05-09-2003 05-09-2003

f ] RETALIATION {} AGE [x] DISABILITY [} OTHER (Specity below.)

 

[| CONTINUING ACTION

 

THE PARTICULARS ARE (if additional paper is needed. attach extra sheetfs)):

| began working for Respondent In or around May 1999 as a Hiker. On or about May 2, 2002 I transferred
to one of Respondent's worksites. On or about May 9, 2003 Respondent transferred me to a different

worksite because of my disabllity.

| belleve | have been discriminated agalnst on the basls of disability, In violation of the Americans with
Disabilities Act of 1990.

RECEIVED EEOC:
SEP 22 2003
CHICAGO DISTRICT OFFICE

 

| want inls charge filed with both the EEOC and the Stale or local Agency, any. |_| NOTARY — When necessary for State and Local Agancy Requirements

will adviae the agencies If 1 change my address or phone number and | will
cooperate fully with them In the processing of my charge In accordance with their

 

 

 

procedures. | swear or afficm that | have read the above charge and that it is true to
1 declare under penally of perjury that the above is true and correct. the beat of my knowledge, information and betief.
SIGNATURE OF COMPLAINANT

Sep z 2008 | gre dof SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE

Charging Party Signature Ey. A.

 

 

 

 
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EEGC Form 5 (4/01)

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974, See enclosed Privacy Act -_ FEPA

Statement and cther information before completing this form.
[EX] Etoc 210-2003-35494

 

 

\linols Department Of Human Rights and EEOC
State or focal Agency, # any

 

Name (Indicate Mr., Ma., Mrs.) Home Phone No. (inci Area Code) Date of Birth

Mr. Oscar O. Hernandez (773) 220-9665

 

 

 

Street Address . Clty, State and ZIP Code
5143 W. Barry, Chicago, IL 60641

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, of State or Locat Government Agency Thal | Believe
Discriminated Against Me or Others. {if more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)
LOYOLA UNIV MED CTR 500 or More (708) 216-3215
Street Addreas . . : . City, State and ZIP Code
2160 South First Avenue, Maywood, IL 60153
Name . No. Employees, Membérs | Phone No. (Include Area Code}
Street Address City, State and ZIP Code
DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE

Earhest Latest

[]race [(_]cotor ["]sex — [[_] Reticion [—_] nationaL oricin

J RETALIATION _] AGE DISABILITY J OTHER (Specify below.) 05-09-2003 05-09-2003

[] CONTINUING ACTION

 

 

THE PARTICULARS ARE (If edditional paper is needed, ailach extra sheel(s)):

On or about May 2, 2002 | was transferred to work as a Hiker through Valet Parking Services inc. at
Respondent's facility. On or about May 9, 2003 Respondent removed me from Its facility because of my
disability.

| believe | have been discriminated against on the basis of my disability, In violation of the Americans
with Disabilities Act of 1990.

SEP 22 2003

CHICAGO DISTRICT OFFICE

 

 

I want this charge filed with both the EEOC and the Stale or local Agency, Ifany. 1 [NOTARY - When necessary for Slate and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them In the processing of my charge In accordance with thelr

 

 

 

procedures. | swear of affirm that | have read the above charge and that it Is true lo
| declare under penalty of perjury that the above Is true and correct. tha best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

. f v SUBSCRIBED AND SWORN TO BEFORE ME THIS OATE
Sep 22, 2003 . (month, day, year)
ms revs Ex.

 

 

 

 

 
. Case: 1:04-cv-07559qigocument #: 1 Filed: 11/22/04 Pagef™pf 14 PagelD #:9

EEGC Form § (5/01)

 

‘CHARGE OF DISCRIMI NATION Charge Presented To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act | FEPA
tatement and other information before completing this form.
EEOC 210-2004-00592

 

 

Iinois Department Of Human Rights and EEOC
State or focal Agency, if any ‘

 

Name (indicate Mr, Ms., Mrs.) Home Phona No. (inc! Area Code} Date of Birth

Mr. Oscar O. Hernandez (773) 220-9665

 

 

 

Street Address City, State and ZIP Code

5143 W. Barry, Chicago, IL 60641

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

Name No. Employses, Members Phone No. (include Area Code)

VALET PARKING SERVICE INC, | Unknown (312) 332-1134

 

Street Address City, State and ZIP Code

70 W. Madison, #760, Chicago, iL. 60602

 

Name No. Employees, Members | Phone No. (include Area Code)

 

 

 

 

Street Address Clty, State and ZiP Code
DISCRIMINATION BASED ON (Check appropriate box(as).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest
RACE COLOR SEX RELIGION NATIONAL ORIGIN
LJ C) a) C CI 10-27-2003 10-27-2003

x) RETALIATION ["] AGE ] DISABILITY [] OTHER (Specify below.)

 

[| CONTINUING ACTION

 

THE PARTICULARS ARE (if additional papar is needed, attach extra sheel(s)):

| began working for Respondent in or around May 1999 as a Hiker. On September 22, 2003 I filed
EEOC Charge #210-2003-35493 against Respondent based on my disability. On October 27, 2003 } was
sent home for net wearing black shoes, when, In fact, | was wearing black shoes. Co-workers have
worn different colored shoes, pants and shirts and have not been disciplined.

| believe | was retaliated against in violation of The Americans With Disabilities Act of 1990.

 

 

 

  

Twant this charge filed with both the EEOC and the State or local Agency. if any. | will |
advise the agencies if | change my address or phone number and | will cocperate fully

 

 

 

with them in the processing of my charge In accordance with their procedures. :
| Gwear or affirm that | have read thg above charge and that it is true to

| declare under penalty of panury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT ’ (

 

 

x .
SUBSCRIBED AND SWORN 0 2EFpRE DPRICIAL SEAL 3
ft bos Dev L) Normally, (marth day, yoo) 3 KENNETH ALAN HENRY 3

AAAS

 

 

 

 

Charging Pa ure 2
arging Party Signa / f 3 DOO 3 er rnmenicn trresreertoer

 

 

 

 
Aug-26-04  Gacarel :OFromv-07559 agument #: 1 Filed: 11/22/04 Page 1@@f 17F#0,q@1092/0020 F-058
— Equal Employment Opportunity Commis.a

DISMISSAL AND NOTICE OF RIGHTS

 

To: Oscar Hernandez From: Equal Employment Opportunity Commission
$143 W. Barry Chicago District Cffice
Chicago, IL 60641 $00 Wes Madison Sureei. Suite 2800

Chicago, IL 60661-2511

CERT. MAIL NO.: 7099 3400 0006 7202 5201

[ ] On behalf of a person aggrieved whose identity is
CONFIDENTIAL (29 CFR § 160].7(a))

 

Charge EEOC Representative Telephone No.
No.
210-2003-35494 Regina Husar, Enforcemem Supervisor (312) 353-0819

 

(See the additional information attached to this form.)
YOUR CHARGE IS DISMISSED FOR THE FOLLOWING REASON:
[ ] The facts you allege fail to state a claim under any of the statutes enforced by the Commission

[ ] Respondent employs less than the required number of employces.
[ } Your charge was not timely filed with the Commission, i.¢., you waited too Jong after the date(s) of the discrimination you alleged to
file your charge. Because it was filed outside the time limit prescribed by law, the Commission cannot investigate your allegations.

[ ) ‘You failed 10 provide requested information, failed or refused to appear or to be available for necessary Interviews/conferences, or
otherwise refused to cooperate to the extent that the Commission has been unable to resolve your charge. You have had morc chan 30 days
in which to respond to Our final wrinen request.

[ _] The Commission has made reasonable efforts to locate you and has been unable to do so. You have had at least 30 days ip which to
respond to 2 notice sent to your last known address.

( ] The respondent has made 2 reasonable seulement offer which affords full relief for the hasm you alleged. Atleast 30 days have
expired since you received actual notice of this sealement offer.

[ X ] The Commission issues the following determination: Based upon the Commission's Investigation, the Conmmission is unable to conclude

that the information obtained establishes violations of the stanues. This does not certify that the respondent is im compliance with the
statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

i.) Other (briefly state)

 

- NOTICE OF SUIT RIGHTS -

[ X ] Tithe VI) and/or the Americans with Disabilides Act: This is your NOTICE OF RIGHT TO SUE, which terminates the
Commission's processing of your charge. If you want to pursue your charge further, you have the right to sue the respondem(s) named in
your charge in « court of competent jurisdiction. If you decide to sue, you must sue WITHIN 90 DAYS from your receipt of this Notice;
otherwise your right to sue is lost.

[ ] Age discrimination in Employment Act: This is your NOTICE OF DISMISSAL CR TERMINATION, which terminates processing

of your charge. If you wamt to pursuc your charge further, you have the right to suc the respondent(s) named in your charge in a court of
competent jurisdiction. If you decide to sue, you must sue WITHIN 90 DAYS from your reccipt of this Notice; otherwise your right to
sue is lost.

{ ] Equal Psy Act (EPA): EPA sults must be brough: wichin 2 years (3 years for willful violations} af the alleged EPA underpayment.

May 5, do eh, 2. Rouse ay

Joly. Rowe, District Direcior

Enclosures
Information Sheet
Copy of Charge
cc: Respondent(s) Loyola University Medical Cemer

EEOC Form 161 (Test 5/95)

Ex. D

 
»

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~aiqual Employment Opportunity Commissit.—

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Oscar Hernandez From: Equal Employment Opportunity Commission
5143 W. Barry Chicago District Office

Chicago, IL. 60641 500 West Madison Sueet, Suite 2800
Chicago, IL 60661-2511

CERT. MAIL NO.: 7099 3400 0006 7302 5201

[ ] On behalf of a person aggrieved whose identity is
CONFIDENTIAL (29 CFR § 1601.7(a)}

 

Charge EEOC Representative Telephone No.
lo.
210-2004-00592 Regina Husar, Enforcemem Supervisor (312) 353-0819

 

(Seq the adgitignal information attached to duis form.)

YOUR CHARGE IS DISMISSED FOR THE FOLLOWING REASON:
{ ] The facts you allege fail vo state a claim under any of the statutes enforced by the Commission

[ }] Respondent employs less than the required number of employees.

{ } Your charge was not timely filed with the Commission, i.¢., you waited too long after the date(s) of the discrimination you allcged 10
file your charge. Because it was filed outside the ime limit prescribed by law, the Commission cannot investigate your allegauons.

( ] You failed to provide requested information, failed of refused to appear or to be available for necessary interviews/conferences, or

otherwise refused to cooperate to the extent that the Commission has been unable to resolve your charge. You have had more than 30 days

in which to respond to our fina) written request.

|] The Cormmission has made reasonable efforts to locate you and has been unable to do so. You have had af least 30 days in which to
respond to a notice sent to your last known address.

[ ] The respondent has made a reasonable senlemem offer which affords full relief for the harm you alleged. At least 30 days have
expired since you received actual notice of this setiememt offer.

[ X ] The Commission issues the following determination: Based upon the Commission's investigation, the Commission is unable to conclude

that the information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with the
statuies. No finding is made as to any otber issues that might be construed as having been raised by this charge.

if ] Other (brieffy staie)

 

- NOTICE OF SUIT RIGHTS -

{ X ] Title VII and/or the Americans with Disabilides Act: This is your NOTICE OF RIGHT TO SUE, witch terminates the
Conunission’s processing of your charge. If you wamt to pursue your charge further, you have the right to sue the respondent(s) named in

your charge in a court of competen junsdiction. If you decide 19 sue, you must sue WITHIN Of DAYS from your receipt of this Notice;

otherwise your right to sue is lost.

[ ] Age discrimination in Employment Act: This is your NOTICE OF DISMISSAL OR TERMINATION, which terminates processing
of your charge. If you wanl to pursue your charge forther, you have the right to sue the respondent(s} named in your charge im @ court of

competem jurisdiction. If you decide to sue, you must sue WITHIN 20 DAYS from your receipt of this Notice; otherwise your right to

sue ig lost.

{ 1 Equal Pay Act (EPA): EPA suits must be brought within 2 years (3 years for willful violauons) of the alleged EPA underpayment.

of the Commission

Awe

P. Rowe, District Director.

  
    

Wag 5, acne

Enclosures
Information Sheet
Copy of Charge
ce: Respondent(s) Valet Parking Service, Inc.

Cx. €

 

EEOC Form 16) (Tsst 5/95)
Case: 1:04-cv-07559 Gaspment #: 1 Filed: 11/22/04 Page 1¢m@j 14 PagelD #:12

 

EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

NOTICE OF RIGHT TO SUE -- TITLE VII / ADA/ADEA

(Conciliation Fallure}

 

 

To: Oscar Hernandez From:
§143 W. Barry Equal Employment Opportunity Commission
Chicago, IL 60641 Chicago District Office
500 West Madison Street, Suit 2800
Certified: 7001 0360 0000 7304 5049 CP Atty Chicago, IL 60661-2511
On behalf of a person aggrieved whose identity is CONFIDENTIAL
(29 C.F.R. 1601. 7(a))

 

Charge Number = EEOC Representative Telephone Number

210-2003-35493 Regina Husar, Enforcement Supervisor (312) 353-0819

 

 

( See the additloval information attached to this form )

The Commission has found reasonable cause to believe that your charge of employment discrimination is true but has not
entered into a conciliation agreement to which you are a party because attempts to achieve such a voluntary settlement with
respondent(s) have been unsuccessful,

The Commission has determined that it will not bring a civil action against the respondent(s) and‘accordingly is issuing this
Notice of Right to Sue. With the issuance of this Notice the Commission terminates its process with respect to your charge,
except that the Commission may seek status as intervenor If you decide to sue on your own behalf as described below.

If you want to pursue your charge further, you have the right to sue the respondent(s) named in your charge in a court of
competent jurisdiction. If YOU DECIDE TO SUE, YOU MUST DO SO WITHIN NINETY (90) DAYS FROM YOUR
RECEIPT OF THIS NOTICE OF RIGHT TO SUE: OTHERWISE YOUR RIGHT TO SUE IS LOST.

Your suit may include any allegation contained in your charge of employment discrimination or any matter which was or
should have been discovered by the Commission during its investigation of your charge.

On Behalf of the Commission

Gorn P. Rowe, District Director

 

Enclosures

Information sheet
Copy of Charge

cc: Respondent(s) Valet Parking Services, Inc.

 

EEOC Form 161-A (Test L094)

Cy. F

 

 
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Case: 1:04-cv-07559 Dggument #: 1 Filed: 11/22/04 Page ‘13am 14 PagelDb#13.~

UNITED STATES DISTRICT COURT

OR' DI CT OF ILLINOIS
NORTHERN DISTRI NOV 23 2004
Civil Cover Sheet

 

This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in
September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The

information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required by —
_ law. This form is authorized for use only in the Northern District of Illinois.

 

Plaintiff(s):; OSCAR O. HERNANDEZ Defendant(s): VALET PARKING SERVICE, INC. &

LOYOLA UNIVERSITY MEDICAL CENTER
County of Residence: Cook County of Residence:
Plaintiffs Atty: | Kenneth A. Henry, Esq. Defendant's Atty:
120 West Madison St., Ste. 600

Chicago, IL 60602
312-857-0100

IL. Basis of Jurisdiction:

 

3. Federal Question (U.S. not a party)
III. Citizenship of Principal
Parties (Diversity Cases Only)

7 04C 7559

Defendant:- N/A

JUDGE DER-YEGHIAYAN
IV. Origin :

 

1. Original Proceeding
. MAGISTRATE JUDGE
¥V. Nature of Suit: 442 Employment GERALDINE SOAT BROWN
- VLCause of Action:

om

This is a cause of action seeking redress for discrimination in violation of

Title I of the American with Disabilities Act of 1990, 42. U.S.C. Section
12101, et seq. (the "ADA").
VIL Requested in Complaint

Class Action: No

   

 

 

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Dollar Demand: $300,000 + fees & costs = o =< 7
Jury Demand: Yes on no 2
oy; 7 7
VIII. This case IS NOT¢ refiling of a previously dismissed case. a* = 2
Signature a _
Date

If any of this information is incorrect, please go back to the Civil Cover Sheet Input form using the Back button in your browser and
change it. Once correct, print this form, sign and date it and submit it with your new civil action. Note: You may need to adjust
the font size in your browser display to make the form print properly.

Revised: 06/78/00

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Case: 1:04-cv-07559 gagcument #: 1 Filed: 11/22/04 Page of 14 PagelD #:14

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS DOCKETED
NOV 2 3 2004

In the Matter of EASTERN DIVISION
OSCAR 0. HERNANDEZ | | O4C q 5 5 9
Cc er:

VALET PARKING SERVICE, INC. & LOYOLA —
UNIVERSITY MEDICAL CENTER.

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:
PLAINTIFF, OSCAR O. HERNANDEZ INGE NER.VECHIAVAN.

 

MAGISTRATE JUDGE

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NAME * 7 NAME
NNETH A. HENRY ESQ.\\
f™ KENNETH A. HENRY\ATTORNEY ATLAW |™
STREET ADDRESS : : STREET ADDRESS
" 120 West Madison Street, Suite 600
CITY/STATEZIP , . CITY/STATEAIP
CHICAGO, IL 60602 LS
TELEPHONE NUMBER FAX NUMBER TELEFHONE NUMBER FAX NUMBER
312-857-0100 — 312-857-1157
E-MAIL ADDRESS E-MAIL ADDRESS
~ khenry@kahlaw.com
IDENTIFICATION NUMBER (SEE ITEM 4 ONREVERSE) | IDENTIFICATION NUMBER (SEE ITEM 4 ON REVERSE)
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TRIAL ATTORNEY? ves [no | TRIAL ATTORNEY? YES Oo » OQ
DESIGNATED AS LOCAL COUNSEL? ‘YES Oo ™» O
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DESIGNATED AS LOCAL COUNSEL? ves «= No | DESIGNATED AS LOCAL COUNSEL? YES oOo w» O

 

 

 

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